      Case 2:22-cv-00068-SMB Document 11 Filed 04/26/22 Page 1 of 2



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Trevor Reid, et al.,                               No. CV-22-00068-PHX-SMB
10                  Plaintiffs,                         ORDER
11   v.
12   United States Department of Interior, et al.,
13                  Defendants.
14
15          The Court has reviewed Plaintiff’s Joint Motion for Extension of Time for Service
16   (Doc. 10). Plaintiffs request an extra 60 days to complete service of process. However,
17   they have already had 90 days. Additionally, the events underlying this case took place in
18   2017. According to their Complaint, Plaintiffs have been working with the Department of
19   Interior through the administrative process to resolve this claim. When it was not resolved,
20   Plaintiffs filed this claim six months after final denial by the Department. Plaintiffs have
21   had plenty of time to prepare their case. Nevertheless, the Court will grant Plaintiffs a 30-
22   day extension of time.
23          IT IS ORDERED granting Plaintiffs’ Joint Motion for Extension of Time for
24   Service (Doc. 10) in part, the deadline for service of process is extended for 30 days from
25   the current deadline of April 12, 2022.
26          …
27          …
28          …
      Case 2:22-cv-00068-SMB Document 11 Filed 04/26/22 Page 2 of 2



 1          IT IS FURTHER ORDERED directing the Clerk of Court to terminate any or all
 2   Defendants in this matter, without further notice, that have not been served within the time
 3   required by Fed. R. Civ. P. 4(m) on May 13, 2022.
 4          Dated this 26th day of April, 2022.
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